              COURT MINUTES OF STATUS HEARING


JULANE HERMAN,

v.                                                            CASE NO. 21-CV-442-JPS

NATIONAL REGENCY OF NEW BERLIN, INC.




                  HON. J. P. STADTMUELLER PRESIDING

DATE: July 21, 2021                                    TIME SCHEDULED: 8:45 a.m.

COURT DEPUTY/CLERK: Caitlin Lynch                      TIME CALLED: 8:45 a.m.

COURT REPORTER: John Schindhelm                        TIME FINISHED: 8:51 a.m.

PURPOSE: Status Hearing

PLAINTIFF BY: Scott Luzi

DEFENDANT BY: AJ Weissler and Tom O’Day

Notes:

8:45  Case called; appearances by telephone
8:46  Court invites comment from litigants
8:46  Plaintiff’s counsel comments, parties are engaged in informal discussions
      regarding potential resolution
8:47 Defense counsel concurs
8:48 Court comments
8:48 Court provides parties with relevant deadlines, which include the following: jury
      trial to begin on Monday, October 3, 2022, at 8:30 a.m.; final pretrial conference to
      be held on Tuesday, September 27, 2022, at 8:30 a.m.; final pretrial report due on
      Wednesday, September 21, 2022; motions in limine due on Friday, September 16,
      2022; interim settlement report due on Monday, April 25, 2022, final settlement
      report due on Monday, September 12, 2022; dispositive motion cutoff date will be
      Monday, May 2, 2022




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8:50 Court explains that to the extent the parties believe that mediation may be
      appropriate, the parties may jointly request referral to a magistrate judge. The
      parties are advised that it generally takes 30-45 days to schedule a mediation
8:51 Parties have nothing further
8:51 Court makes additional comment
8:51 Court stands in recess




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